                Case 2:19-cr-00381-DAK Document 9 Filed 09/30/19 PageID.13 Page 1 of 1

AO 442 (Rev. 11/11) Arrest Warrant




                  United States of America
                                 v.                                   )
                                                                      )
                                                                      )
                                                                      )
                   Christopher Sean Kenny                             )
-----------           ---
                                                                      )
                            Defendant


                                                       ARREST WARRANT                              ORIGINAL
To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested)        Christopher Sean Kemny
who is accused of an offense or violation based on the following document filed with the court:

0 Indictment              0 Superseding Indictment             0 Information     0 Superseding Information.,,            ~__.Compl~nt
                                                                                                                                  ._.
0 Probation Violation Petition               0 Supervised Release Violation Petition      0 Violation Notke              O\.Q>rder ~'J; the Court
                                                                                                                                   '····"
This offense is briefly described as follows:                                                                                       ,,. . .1   t\"'l
                                                                                                                                    .- ...     ·:--)
                                                                                                                                    ·- ,_j . ··;.···~
  21 USC 841 (a)(1) and 846; Conspiracy to Distribute a Controlled Substance
                                                                                                                                        .....".,,,,




oate:     .?o ~ 2.t?lr
                                                                                            Issuing officer's signature


City and state:                                                           ---~Eau! M. Warner, US Magistr<!_t§l_~_l,l_CJ_g_~-----­
                                                                                             Printed name and title


                                                                    Return

          This warrant was received on (date)       !ilQJJ__j_f_CJ___ ,and the person was arrested on        (date) _____   j_j_'?>J!)i_J___
at (city and state)


                                                                          ~-
                                                                               ~~·-"-----------
                                                                                           Arresting officer's signature
                                                                                                                                   --


                                                                          ___-rf_Q_~1iu,~_N_~&±1:6~---------------
                                                                                             ~Printed name   and title
